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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION


UNITED STATES OF AMERICA                                 Case No. 1:20-cr-183
                           Plaintiff,
v.                                                       Hon. Robert J. Jonker

ADAM DEAN FOX,
                                                         DEFENDANT'S INITIAL PRETRIAL
                           Defendant.                    CONFERENCE SUMMARY STATEMENT


       Defendant                     ADAM DEAN FOX,                  , through his/her attorney,
submits the following initial pretrial conference summary statement.

I.      DISCOVERY
            The defendant requests disclosure pursuant to Federal Rules of Evidence 404(b).

        The defendant         will       will not provide reciprocal discovery.
II.     TRIAL
        The defendant requests a        jury      non-jury trial.
III.    MISCELLANEOUS

        The parties acknowledge that if the case is appropriate for expedited resolution and
        sentencing, a joint motion for expedited sentencing shall be filed within 14 days of
        arraignment.

            Counsel for defendant is unaware at this time of any known conflict with counsel's
            representation of defendant. Counsel will immediately advise the court if any such
            conflict becomes known.
            Counsel for defendant is aware of the following potential conflicts:




IV.     OBLIGATIONS
            Counsel for defendant acknowledges having reviewed the Obligations of Defense
            Counsel section available at the court's website, www.miwd.uscourts.gov >>
            Attorney Information >> Criminal Case Information.


Date         December 16, 2020                               /s/ Helen C. Nieuwenhuis
                                                Counsel for Defendant
                                                                                              (Rev. 03/01/2019)
